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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

MICHAEL AMATO,
JOY MONSANTO,
50's LOUNGE, LLC,                                   DKT No.: 3:20-cv-00464-MPS

          Plaintiffs,

v.

MAYOR JUSTIN ELICKER,
MAYOR'S REPRESENTATIVE,
GOVERNOR NED LAMONT

          Defendants.                                     July 29,2020

MEMORANDUM OF LAW IN OPPOSITION TO GOVERNOR LAMONT'S MOTION TO
        DISMISS PLAINTIFF'S SECOND AMENDED COMPLAINT

          The Plaintiffs respectfully request 1 the Court to deny Governor Ned Lamont's

motion to dismiss their claims against him in its entirety, as the Defendant has asserted

that there is a "minimal factual and legal basis" for the Plaintiffs' claims, tacitly conceding

that such bases are neither insufficient nor implausible, as they must be in order for the

Court to dismiss at this stage of the litigation.

I.        RELEVANT PROCEDURAL HISTORY

          The Plaintiffs filed the instant action on April 3, 2020, and they moved for a

temporary restraining order and a preliminary injunction on April 10, 2020. See Dkt. 1,

11. On May 19, 2020, the Court issued a Ruling denying Plaintiffs' motion for a TRO. Dkt.

32. On that same day, Plaintiffs' filed their Amended Complaint. Dkt. 30. Thereafter, on

June 17, 2020, the Plaintiffs filed their Second Amended Complaint in accordance with




1    Oral argument not requested

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the Court's Order issued on May 28, 2020, directing the Plaintiffs to file a second

amended complaint in order to address the defects alleged in Mayor Elicker's

memorandum of law in support of his motion to dismiss. See Dkt. 34-1, 35, 41. Then, on

July 8, 2020, the Governor filed his motion to dismiss the Plaintiff's Second Amended

Complaint, to which the Plaintiffs now respond. Dkt. 48.

II.    RELEVANT FACTS

       Beginning in early March 2020, Connecticut and its citizens began to struggle

with twin crises: the spreading threat of COVID-19, and the fumbling, haphazard

governmental response. Between March 8, 2020-- when Governor Lamont announced

the first positive case of COVID-19-- and March 16,2020-- when Governor Lamont

imposed Executive Order 7D-- the Plaintiffs, like all Connecticut residents, watched as

the Governor and other municipal executives struggled to define and address the public

health crisis with cascading orders based more on kneejerk reaction than sound science

or local conditions.

       Reluctant to simply rely upon the government, and concerned by its equivocal

responses, the Plaintiffs voluntarily closed the doors of their business, the 50's Lounge,

on March 15, 2020 as a temporary measure in order to assess for themselves the risks

of the COVID-19 outbreak and evaluate how to safely operate going forward. ECF No.

41, 1[23-24. Following research and deliberation, the Plaintiffs determined to reopen a

week after closing, only to have that option foreclosed by the Governor's actions. Id. at

24-25. Despite subsequent changes to the Governor's orders, they remain arbitrary

orders that impermissibly restrict constitutional rights without any appreciable basis in

reason or science.



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III.   LEGAL ARGUMENT

       Governor Lamont seeks dismissal of the Plaintiffs claims on the bases of lack of

subject matter jurisdiction under Fed. R. Civ. P. 12(b)(1) and failure to state a claim upon

which relief can be granted under 12(b)(6). All of these bases fail as discussed

hereinafter.

IV.    STANDARD

       The appropriate standard for a motion to dismiss for the lack of subject matter

jurisdiction under Fed. R. Civ. P. 12(b)(1) is well-established. Because "[fJederal courts

are courts of limited jurisdiction ... ," Gunn v. Minton, 568 U.S. 251, 256 (2013), a court

must dismiss an action if it lacks subject matter jurisdiction. Fed. R. Civ. P. 12(h)(3). To

decide a motion to dismiss for lack of subject matter jurisdiction, the district court "must

take all uncontroverted facts in the complaint    Das true, and draw all reasonable inference
in favor of the party asserting jurisdiction." Tandon v. Captain's Cove Marina of

Bridgeport, Inc., 752 F.3d 239,243 (2d Cir. 2014). If the facts pertaining to jurisdiction are

disputed, 'the court has the power and obligation to decide issues of fact by reference to

evidence outside the pleadings .... " Id. "In that case, the party asserting subject matter

jurisdiction has the burden of proving by a preponderance of the evidence that it exists."

Id.

       In considering a motion to dismiss under Fed. R. Civ. P. 12(b)(6), "the Court must

accept as true all factual matter alleged in a complaint and draw all reasonable inferences

in a plaintiffs favor." Moore v. Connecticut Dept. of Correction, 2015 WL 778626, at *2



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(D. Conn. 2015) (citing Ret. Bd. of the Policemen's Annuity & Ben. Fund of the City of

Chicago v. Bank of New York Mel/on, 775 F.3d 154, 159 (2d Cir. 2014». The Plaintiffs

must allege "sufficient factual matter, accepted as true, to state a claim to relief that is

plausible on its face." TechnoMarine SA v. Giftports, Inc., 758 F.3d 493, 505 (2d Cir.

2014) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009». "A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged." Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (internal citations omitted).

V.     THE ELEVENTH AMENDMENT DOES NOT BAR THE PLAINTIFF'S CLAIMS
       AGAINST GOVERNOR LAMONT IN HIS OFFICIAL CAPACITY.

       A. All Of The Plaintiffs' Claims At Law And Equity Are Not Barred By The
          Text Of The Eleventh Amendment And 42 U.S.C. § 1983.

       All of Governor Lamont's Eleventh Amendment arguments fail as a textual matter.

The Eleventh Amendment reads: "The Judicial power of the United States shall not be

construed to extend to any suit in law or equity, commenced or prosecuted against one

ofthe United States by Citizens of another State, or by Citizens or Subjects of any Foreign

State." Consequently, the text of the Eleventh Amendment clearly requires diversity

jurisdiction, which does not exist in the instant case, for the Eleventh Amendment's

immunity to apply.

       Although the U.S. Supreme Court rejected this strict textual interpretation of the

Eleventh Amendment in Hans v. Louisiana, 134 U.S. 1 (1890) and many subsequent

cases, Hans' rule does not control for several reasons. First, Eleventh Amendment

immunity is not independently derived from the Eleventh Amendment. Alden v. Maine,

527 U.S. 706, 712-13 (1999). Instead, the Eleventh Amendment constitutionalized the

common law sovereign immunity that states enjoyed before the ratification of the
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unamended federal constitution. Id. "[I]n adopting the Fourteenth Amendment, the people

required the States to surrender a portion of the sovereignty that had been preserved to

them by the original Constitution."2 Id. at 756. Consequently, even if the Eleventh

Amendment constitutionalized common law sovereign immunity in an absolute fashion,

the Fourteenth Amendment superseded it. Since the Supreme Court did not incorporate

the Bill of Rights against the states until long after Hans was decided 3 and Hans itself

concerned a claim under Art. I., § 10 of the federal constitution, it did not consider the

Fourteenth Amendment's superseding effect. See id. generally. Since Alden recognizes

the principle that the Fourteenth Amendment amends the Eleventh Amendment to

abrogate a portion of state sovereign immunity, the Eleventh Amendment does not bar

official capacity suits against state officials. Consequently, the Plaintiffs do not ask this

Court to overrule the United States Supreme Court, but rather to logically apply its clear

ruling in Alden v. Maine and hold that the Fourteenth Amendment supersedes Eleventh

Amendment immunity.

       Second, Hans does not control merely because the Supreme Court has not

reconciled its jurisdictional authorization precedents with Alden.4 Art. III, § 2 specifically

states that the judicial power extends to "all cases, in law and equity, arising under this

Constitution .... " U.S. Const. Art. III, § 2. As an Article III court with general jurisdiction




2 The Alden Court cited the past Supreme Court precedents on the bar against suing state
officials in their official capacities, but it did not discuss them in detail because the issues
were not properly before the Court. Alden, 527 U.S. at 756-57.
3 The first clear instance of incorporation came in 1925 for the First Amendment in Gitlow
v. New York, 268 U.S. 652 (1925).
4 Prior to Alden, the Supreme Court repeatedly cited the Eleventh Amendment to reject
requests to interpret 42 U.S.C. § 1983 as authorizing suits at law against state officials to
proceed. See, e.g.,
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over federal questions, the outer limits of this Court's jurisdiction over cases arising under

the federal constitution does not flow from congressional authorization, but rather from

Art. III, § 2, which authorizes it to hear all cases in law and equity. Since the Fourteenth

Amendment has abrogated Eleventh Amendment sovereign immunity for claims under

the Fourteenth Amendment as recognized by Alden, it naturally follows that Art. III, § 2

provides this Court with the subject matter jurisdiction to hear the instant case.

       Third, even assuming that this Court requires congressional authorization to hear

cases under the Fourteenth Amendment,5 42 U.S.C. § 1983 clearly abrogates Governor

Lamont's Eleventh Amendment immunity.6 § 1983 makes U[e]very person" liable for a

violation of another person's constitutional rights. However, §1983 itself does not define

the term person. Will v. Michigan Dept. of State Police, 491 U.S. 58, 77 (1989) (Brennan,

J., dissenting). Consequently, "[a]ny analysis of the meaning of the word 'person' in §

1983 ... must begin .. . with the Dictionary Act." Id. (quoting Monell v. New York City Dept.

of Social Services, 436 U.S. 658, 719 (1978) (Rehnquist, J., dissenting» (internal

quotations omitted).

       The Dictionary Act stated "[t]hat in all acts hereafter passed ... the word 'person'

may extend and be applied to bodies politic and corporate ... unless the context shows

that such words were intended to be used in a more limited sense .... " Act of Feb. 25,




5 Alden specifically recognized that Congress may abrogate a state's Eleventh
Amendment immunity pursuant to its enforcement power under § 5 of the Fourteenth
Amendment. Alden, 527 U.S. at 756 (citing Fitzpatrick v. Bitzer, 427 U.S. 445 (1976».
6 The Plaintiffs recognize that the U.S. Supreme Court has held otherwise in Will v.
Michigan Dept. of State Police, 491 U.S. 58 (1989). Trusting that the Court will carefully
and independently consider their arguments in accordance with its Art. VI, § 3 oath, the
Plaintiffs also recognize that the Court may choose to follow its obligations under stare
decisis and thus preserve this question for appeal.
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1871, § 2, 16 Stat. 431. The Supreme Court held in Monell that this definition is "not

merely allowable but mandatory, requiring that the word 'person' be construed to include

'bodies politic and corporate' unless the statute under consideration 'by its terms called

for a deviation from this practice.'" Monell, 436 U.S. at 689, 690, n. 53. At the time that

the Dictionary Act passed - two months prior to the passage of § 1983, "the phrase "bod ies

politic and corporate" was understood to include the States." Will, 491 U.S. at 78

(Brennan, J., dissenting) (compiling historical sources). Consequently, it is quite clear that

Congress meant for the term persons in § 1983 to include states as required by the

Dictionary Act.? Therefore, the Court has subject matter jurisdiction over all of the

Plaintiffs' claims.

       B. The Fifth Amendment, As Incorporated Against The States Through The
          Fourteenth Amendment, Contains A Self-Executing Cause of Action That
          Supersedes The Eleventh Amendment.

       The Fifth Amendment reads in relevant part as follows: "[N]or shall private property

be taken for public use, without just compensation." The Supreme Court has consistently

held since 1987 that the Fifth Amendment's Takings Clause is self-executing with respect

to compensation. Knick v. Township of Scott, Pennsylvania, 139 S.Ct. 2162, 2171 (2019).

Consequently, a property owner has a constitutionally authorized cause of action "for just

compensation at the time of the taking." Id. "[B]ecause a taking without compensation

violates the self-executing Fifth Amendment at the time of the taking, the property owner

can bring a federal suit at that time." Id. at 2172.




7The Senate debates over the Dictionary Act confirm this interpretation . See, e.g., Congo
Globe, 42 nd Cong., 1st Sess., 661-662 (1871)(Sen. Vickers) ("What is a State? Is it not a
body politic and corporate?"); id. at 696 (Sen. Edmunds) ("A State is a corporation").
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       Knick clearly indicates that the Fifth Amendment constitutionalizes a cause of

action. Because the Fifth Amendment was incorporated against the states by the

Fourteenth Amendment, it supersedes the Eleventh Amendment's sovereign immunity.

Consequently, Count Eleven of the Plantiffs' complaint is not barred by the Eleventh

Amendment.

       c.   The Eleventh Amendment Does Not Bar Equitable Relief Under The Ex
            Parte Young Doctrine.

       In Ex Parte Young, 209 U.S. 123 (1908), the Supreme Court held thatthe Eleventh

Amendment does not bar plaintiffs from suing state officials for declaratory and injunctive

relief. Governor Lamont does not dispute this principle as it applies to prospective

equitable relief. However, he disputes it to the extent that the Plaintiffs seek retrospective

equitable relief.

       Governor Lamont's argument is litigiously cautious and thorough, but the Plaintiffs

do not seek retrospective injunctive relief. Instead, the Plaintiffs seek only prospective

injunctive relief over all of Governor Lamont's orders imposing restrictions on the claims

in this suit if the Court declares his March 16, 2020 and March 26, 2020 orders

unconstitutional.

       To the extent that the Plaintiffs seek retrospective relief, they do so in their claims

for damages as a matter of law, which would necessarily require a determination that

Governor Lamont's orders were unconstitutional. As discussed above, the Eleventh

Amendment does not bar such a determination.




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       D. The Eleventh Amendment's Text And History Does Not Bar The Court
          From Exercising Pendent Jurisdiction Over The Plaintiffs' State
          Constitutional Claims.

       The Plaintiffs are well aware of the Court's own rulings that have followed the

Supreme Court's precedents holding that the Eleventh Amendment bars district courts

from exercising pendent jurisdiction. See Dennehy v. Sofo, 2018 WL 4936003, at *2 (D.

Conn. Oct. 11, 2018) (Shea, J.). As they did above, the Plaintiffs preserve this issue for

appeal.

       The plain text of the Eleventh Amendment only provides a non-consenting state

with immunity for suits in diversity jurisdiction. The Eleventh Amendment reads: "The

Judicial power of the United States shall not be construed to extend to any suit in law or

equity, commenced or prosecuted against one of the United States by Citizens of another

State, or by Citizens or Subjects of any Foreign State." Consequently, the Eleventh

Amendment provides no bar to the Court's pendent jurisdiction over state law claims.

      Should the Court agree with the Plaintiffs' arguments as to the scope of the

Eleventh Amendment in the pendent jurisdiction process or if an appeals court does and

remands the case, the Court may properly certify what Governor Lamont admits are novel

issues of Connecticut constitutional law to the Connecticut Appellate Court or the

Connecticut Supreme Court. See Lamont - Mot. To Dismiss, pp. 37-39.

VI.   PLAINTIFFS' CLAIMS FOR DECLARATORY AND INJUNCTIVE RELIEF FROM
      GOVERNOR LAMONT'S ORDERS ARE NOT MOOT.

      The defendant contends that Lamont's order is moot as Lamont has

subsequently altered some of his orders such that "key aspects" of the Orders are no

longer operative. Those changes, however, are merely cosmetic: presently, restaurants

are allowed to provide some indoor service, and gatherings of people are now limited to

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25 people indoors, and 100 people outdoors. The plaintiffs respond by asserting that the

issue is not moot. The issue in this case is not whether the Governor possesses the

lawful authority to order a specific numeric limit on the number of people who can

congregate in public, but whether he has the authority to issue such a mandate

regardless of the number, whether the number be two, five, ten or 100.


       Additionally, the plaintiffs contend that given the rolling nature of the COVID-19

pandemic, and the fact that as recently as this week, the Governor adjusted reporting

restrictions for persons traveling to Connecticut from out of state, the rules in question

are moving targets. Accordingly, if this Court finds colorable the defendant's mootness

claim, the plaintiffs assert an exception to the mootness doctrine - the issues are

capable of repetition yet evading review. This exception applies in cases where a party

can "make a reasonable showing that he will again be subjected to the alleged

illegality." City of Los Angeles v. Lyons, 461 U.S. 95, 109 (1983).


       The pandemic appears to be under control in Connecticut, but not so in many

other states. Connecticut now requires visitors from Connecticut to either test negative

for viral infection upon arriving in this state, or to self- quarantine for 14-days until the

risk of transmission of the virus passes. It is foreseeable that cases of the virus will once

again spike, and that the state and/or municipalities will respond with measures

intended to protect the public health, but, as contended here, taken in blatant disregard

of the limits on their lawful authority. A ruling on the scope of this authority is necessary

now, not the day after the next ad hoc order, in order to protect the plaintiffs' interest in

operating their business and earning a living. There is an enormous public interest in

assuring the legality of the practices be settled.

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          Accordingly, the plaintiffs urge this Court to reject the defendant's mootness
claim.
VII.     THE PLAINTIFFS HAVE ARTICLE III STANDING.

         "[T] irreducible constitutional minimum of standing contains three elements." Lujan

v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). First, the Plaintiff must have suffered

an "'injury in fact' - an invasion of a legally protected interest which (a) concrete and

particularized ... and (b) 'actual or imminent', not 'conjectural' or 'hypothetical'." Id.

(internal citations omitted). Second, the Plaintiffs must show "a causal connection

between the injury and the conduct complained of - the injury has to be fairly ... tracerable]

to the challenged action of the defendant and not. .. th[e] result of the independent action

of some third party not before the court. Id. at 560-61 (internal quotation marks and

citation omitted). Third, a favorable decision must be "likely, as opposed to merely

speculative" to redress the Plaintiff's injury. Id. at 561 (internal quotation marks and

citation omitted).

         "For purposes of ruling on a motion to dismiss for want of standing, both the trial

and reviewing courts must accept as true all material allegations of the complaint, and

must construe the complaint in favor of the complaining party." Warth v. Seldin, 422 U.S.

490, 501 (1975).

         A. Injury in Fact

         The Plaintiffs' complaint does not fail the pleading standard. The Plaintiffs have

alleged that Governor Lamont's executive orders have completely and effectively

deprived them of the opportunity to reopen their business. Compl.      1m 19-22 (describing
the effect of Governor Lamont's orders on their industry); see also Compl. 1m 58, 61, 68,

73 (incorporating    1m   19-22 into each count against Governor Lamont). This is no


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conjectural or hypothetical injury, but one that is concrete and particularized to them as

restaurant owners, thus meeting the requirements of Lujan.

       Governor Lamont also challenges whether the Plaintiffs have standing on the

grounds that they voluntarily closed their business. The Plaintiffs' responsible exercise of

their liberty in a time of extreme uncertainty does not bar their application for relief from

the Governor's orders that he has directed state and local police to enforce by issuing

summons for fines and the possibility of incarceration. Moreover, the Plaintiffs would be

risking their business license to reopen in the face of Governor Lamont's orders. The

Governor's mandatory closure order has stripped the Plaintiffs of their ability to avoid or

mitigate their financial losses since its inception. Consequently, Governor Lamont's

orders have created an ongoing injury to the Plaintiffs - the proper parameters of which

can be determined by their testimony as to when their closure no longer became

voluntary.

       B. Causal Connection

       The Plaintiffs' financial injuries must be fairly traceable to Governor Lamont's

executive orders under Lujan. Governor Lamont argues that the Plaintiffs are responsible

for their own injuries by voluntarily closing on March 15, 2020. See Lamont - Mot. To

Dismiss, p. 26. In the alternative, he blames the pandemic. Id.

       The Plaintiffs chose to close their doors out of an abundance of caution. The

Governor's orders strip them of a choice to legally open their doors as they see fit and

had planned, which they are clearly challenging before this Court. Even if the Plaintiffs

concede that they suffered no harm during a period of voluntary closure (a few days), the

Governor's subsequent mandatory closure order rendered all closures involuntary. The



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Governor's mandatory closure order stripped the Plaintiffs of their ability to avoid or

mitigate their injuries since its inception. Any attempt by the Plaintiffs to "violate" Governor

Lamont's order would have resulted in criminal charges, fines, suspension of the Plaintiffs'

business license, and the possibility of incarceration. Consequently, any injuries incurred

by the Plaintiffs after they had determined that they would no longer remain voluntarily

closed are fairly traceable to the Governor's orders.

        C. Redressability

        A favorable decision from the Court will undoubtedly, not just likely as required by

Lujan, redress the Plaintiffs' injuries in several ways. First, it would enable the Plaintiffs

to exercise their constitutional rights again without fear of criminal repercussions. Second,

it will provide the Plaintiffs with just compensation for Governor Lamont's taking of their

property. Third, it will enable the Plaintiffs to mitigate, if they can, the possibility that they

may go out of business.

VIII.   THE LLC PLAINTIFF HAS ARTICLE III STANDING ONLY AS TO COUNT
        ELEVEN, WHICH GOVERNOR LAMONT DOES NOT CHALLENGE.

        The Plaintiffs concede that the constitutional rights that they assert in Counts Eight

through Ten are personal rights guaranteed to individuals only, not corporations. To the

extent that they have pled those claims on behalf of the LLC Plaintiff, it is a harmless

scrivener's error that they acknowledge. However, Governor Lamont does not challenge

that the LLC Plaintiff has standing for Count Eleven, and the Plaintiffs reserve their

position that Count Eleven was properly pled as it is written.




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IX.    THE PLAINTIFFS' CLAIMS HAVE ENOUGH MERIT TO SURVIVE A MOTION
       TO DISMISS.

       Governor Lamont relies wholly on Jacobson v. Massachusetts, 197 U.S. 11 (1905)

and its limited progeny to justify their total suspension of the Plaintiffs' constitutional

liberties not just for days, but for almost two months to date. Their reliance is grossly

misplaced.

       First, Jacobson is no North Star of modern constitutional jurisprudence during a

public health emergency. The Supreme Court decided Jacobson in 1905, long before the

modern constitutional frameworks for analyzing the First Amendment and other

fundamental rights were established. Indeed, the Supreme Court did not develop the

modern "strict scrutiny" test until half a century after Jacobson was issued. See NAACP

v. Button, 371 U.S. 415, 438 (1963) (marking the Supreme Court's first use of the

"compelling state interest" test that has become the hallmark of strict scrutiny").

Consequently, any reliance upon Jacobson must overcome the significant "challenge of

reconciling century-old precedent with ... more recent constitutional jurisprudence."

Adams & Boyle, P.C. v. Slatery, 2020 WL 1982210, at *9 (6 th Cir. Apr. 24, 2020).

       Jacobson's track record smacks of outrageous instances of tyranny. Buck v. Bell

- one of the most repudiated decisions in our nation's history - serves as a perfect

illustration of this challenge. In Bell, the Supreme Court upheld a Virginia law mandating

the forced sterilization ofthe "feeble minded," and, writing for the majority, Justice Holmes

relied completely on Jacobson: "The principle that sustains compulsory vaccination is

broad enough to cover cutting the Fallopian tubes. Jacobson v. Massachusetts, 197 U.S.

11. Three generations of imbeciles are enough." Buck v. Bell, 274 U.S. 200, 207 (1927).

There is no question that Virginia's law in Buck v. Bell would receive, and would not

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survive, strict scrutiny today. The lesson of Buck v. Bell is that courts cannot fail to fulfill

their constitutional roles by rubber-stamping every government action taken in the name

of preserving public health. Consistency mandates a similar approach in the instant

action. Jacobson does not absolve Governor Lamont from his burden to satisfy strict

scrutiny. It merely establishes a rule of reasonableness.

       Second, while Jacobson establishes the principle that no constitutional right is

absolute, it also establishes that there are constraints on the state's police power.

Jacobson, 197 U.S. at 26 ("But the liberty secured by the Constitution of the United States

to every person within its jurisdiction does not import an absolute right in each person to

be, at all times and in all circumstances, wholly freed from restraint."). Individual liberties,

"under the pressure of great dangers," may be reasonably restricted "as the safety of the

general public may demand." Id. at 29. However, Jacobson does not provide Governor

Lamont with unchecked carte blanche to run amuck over constitutional liberties.

       The courts still have a constitutional obligation to review measures instituted under

the purview of Jacobson if they have "no real or substantial relation to those objects, or

[are], beyond all question, a plain, palpable invasion of rights secured by the fundamental

law." {d. at 31. The Jacobson Court further defined this standard by stating that the courts

have an obligation to review a restriction when it is "arbitrary, and not justified by the

necessities of the case." Id. at 28. The "necessities of the case" review of the state's police

power safeguards individuals when the police power is exercised "in particular

circumstances and in reference to particular persons in such an arbitrary, unreasonable

manner, or [goes] so far beyond what [is] reasonably required for the safety of the public,




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as to authorize or compel the courts to interference for the protection of such persons."

Id. at 28.

       Governor Lamont's executive orders do not even cross the threshold of

reasonableness because they so thoroughly and arbitrarily restrict constitutional rights

without any appreciable basis in reason or science. They arbitrarily suspend constitutional

rights indefinitely with the threat of jail, fines, and termination of business licensing for

non-compliance with the various iterations of his Orders. The orders arbitrarily determine

whether the rights to freely assemble, freely associate with other people, and pursue an

honest living are essential. As such, the orders are not narrowly tailored and cannot

survive strict scrutiny.

       A. The Plaintiffs' Freedom of Assembly Claims Survive A Motion to Dismiss.

       The U.S. Supreme Court has repeatedly established, and it has long been

understood, that the First Amendment guarantees physical gatherings - a right that

"cannot be denied without violating those fundamental principles of liberty and justice

which lie at the base of all civil and political institutions." De Jonge v. Oregon, 299 U.S.

353, 364 (1937) (citations omitted). Indeed, the very nature of a constitutional republic

"implies a right on the part of its citizens to meet peaceably for consultation in respect to

public affairs and to petition for a redress of grievances." United States v. Cruikshank, 92

U.S. 542, 552 (1875). This right "is found wherever civilization exists." Id. at 551. As

Justice Story explained, "[i]t is impossible that [this right] could be practically denied, until

the spirit of liberty had wholly disappeared, and the people had become so servile and

debased, as to be unfit to exercise any of the privileges of freemen." J. Story,

Commentaries on the Constitution of the United States § 1984.



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       Governor Lamont imposed an executive order on March 26, 2020 that banned all

gatherings of people that exceeded five in number. Compl.     11 22.   He has since changed

his Orders in what he describes as "key aspects", but which are in fact merely changes

in degree, not substance. Moreover, by changing the number of people allowed to gather

when the disease is no less contagious, the Governor has demonstrated the arbitrary

nature of his Orders. By arbitrarily imposing limitations on the number of people who may

gather, Governor Lamont has unduly burdened free speech and free association by

functionally "eliminating a common means of speaking ... " - an action that the Supreme

Court has flatly described as suppressing "too much speech." City of Ladue v. Gil/eo, 512

U.S. 43, 55 (1994). These burdens reach impermissible levels when they functionally

eliminate a "venerable means of communication that is both unique and important." Id. at

54-55. No means of communication is more venerable and ancient in our nation's tradition

than the public meeting: "It is hard to overestimate the historic significance and patriotic

influence of the public meetings held in all the towns of Massachusetts before and during

the Revolution." Wheelock v. Lowell, 196 Mass. 220, 227 (1907). Just as in colonial

taverns did, restaurants and bars such as the Plaintiffs' serve an invaluable purpose

toward facilitating discussion and allowing their owners to engage in such discussions.

By limiting the number of people who can assemble and arbitrarily regulating the Plaintiffs'

operation of their business, Governor Lamont has categorically stripped the public of a

vital public forum that predates the United States Constitution and are blatantly

suppressing speech by restricting public meetings.

      Governor Lamont argues that Jacobson held that far greater restrictions on the

right to assemble were constitutionally justified. See Lamont Mot. To Dismiss, p. 16-19.



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However, he misreads Jacobson's dicta. The quarantines referenced in Jacobson were

only applied to individuals who had already been exposed to a contagious disease during

the course of an ocean voyage. Jacobson, 197 U.S. at 29. These quarantines were

narrowly tailored in the sense that they were only applied to people who had been

exposed to a contagious disease. Governor Lamont has not imposed a limited quarantine

on individuals who have either contracted coronavirus or have been exposed to someone

who contracted coronavirus. He has functionally quarantined the entire healthy, non-

exposed population of Connecticut and suspended their constitutional rights indefinitely.

His actions in doing so are unconstitutionally arbitrary and "a plain, palpable invasion of

rights secured by the Constitution." Id. at 28,31.

        Governor Lamont's arguments also ignore the well-established principle for a

motion to dismiss, which requires the Court to "draw all reasonable inferences in a

plaintiff's favor." Moore v. Connecticut Dept. of Correction, 2015 WL 778626, at *2 (D.

Conn. 2015)( citing Ret. Bd. of the Policemen's Annuity & Ben. Fund of the City of Chicago

v.   Bank of New York Mel/on, 775 F.3d 154, 159 (2d Cir. 2014)). He argues that the

Plaintiffs have not stated any allegations as to when and where they want to assemble,

with whom, and for what purpose. See Lamont - Mot. To Dismiss, p. 19-23. The

Governor's arguments fail for two reasons. First, the Plaintiffs have alleged that Governor

Lamont has banned any physical assembly for any purpose that exceeds a certain

number of people, which certainly covers any assembly that they wish to hold. Compl.1J

22. Second, it does not take any stretch of the imagination to infer from the Plaintiffs'

complaint that they want to assemble with others at their place of business for social




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purposes including, but not limited to the discussion of current events - a purpose that

predates the federal constitution.

       Furthermore, the cases upon which Governor Lamont relies are inapplicable.

Johnson v. Perry, 859 F.3d 156 (2d Cir. 2017) did not address a pleading standard and

reviewed a motion for summary judgment concerning the right to protest on government

property. Cox v. State of Louisiana, 379 U.S. 536 (1965) did not even concern a civil

case, reviewing the criminal convictions of civil rights demonstrators who picketed a state

courthouse. Finally, the court in A.B.C. Home Furnishings, Inc. v. Town of East Hampton,

947 F. Supp. 635 (E.D.N.Y. Dec. 14, 1996) found that the town's revocation of a permit

for an event in a zoned residential neighborhood was based on its determination that the

event was commercial in nature rather than a charity event. The court, in no way, required

a heightened standard of pleading for First Amendment assembly claims. Moreover, the

instant case differs in the critical aspect that Governor Lamont directly prohibited all

assemblies with his order whereas the town simply terminated a permit for a charity event.

      Governor Lamont also presented an elitist argument that virtual assemblies are

adequate alternatives to public meetings and gatherings. His claim that "virtual

assemblies' on the Internet are adequate alternatives to public meetings and gatherings

falls flat for two reasons. First, the right to assemble is a separate and distinct right

"cognate to those of free speech and free and ... equally fundamental." De Jonge, 299

U.S. at 364. Sending a letter, posting a comment online, or making some other form of

online communication (assuming that one can afford access to the Internet) are merely

alternative forms of expression, but they do not serve as alternative forms of assembly.

They are not assembly at all.



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       Second, Internet-age forms of expression are not available to all of Connecticut's

residents. The poor often do not have adequate access to new technologies, and they

must trust in the power of their voices and their assembled numbers to have even the

smallest hope of being heard. See Gilleo, 512 U.S. at 57. The limited opening of public

libraries and the limitations on the number of people who may gather there has only

exacerbated this problem. Governor Lamont may not condition the right to assemble and

freely associate with others on the means to purchase a computer, webcam, and internet

service. Furthermore, because Internet service providers and platforms are private

companies, who repeatedly demonstrate themselves to be more than willing to censor

content and silence disfavored points of view including by coordinating with local

governments8 , they do not offer adequate alternatives as far as the right to freely

assemble is concerned. 9

       In other words, Governor Lamont's "alternative" is one that only the privileged in

society can enjoy and one where speech is grossly inhibited. The First Amendment right

to freedom of assembly does not depend on financial means or the government's

benevolence in providing a means to access the internet. The First Amendment right to

freedom of assembly guarantees freedom of assembly to everyone, and the Plaintiffs,

just like the tavern owners of the Founding era, serve a vital role in facilitating this right.




8 Donie O'Sullivan & Brian Fung, CNN, Facebook will take down some, but not all, posts
promoting anti-stay-at-home protests. April 20, 2020,
https:llwww.cnn.com/2020/04/20/politics/facebook-covid-shutdown-protests/index.html
9 It is telling that a video in which medical doctors critiqued the wisdom of lock-down
orders like EO 28 was recently removed from the Google-owned YouTube platform for
violating its "community guidelines." Veronica Morley, 23ABC NEWS, You Tube Issues
Statement on Removal of Controversial Video Interview with Bakersfield Doctors, April
27,2020, https:/lbit.ly/2W12kLr.
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       Governor Lamont's orders are also arbitrary in the sense that they allow some

gatherings of individuals for essential purposes only (Le. grocery shopping) provided that

they observe proper social distancing practices. Governor Lamont has given no

consideration to mandating the same social distancing rules for other assemblies such as

conversation. He does not count the two hundred or more people in a grocery store at

any given time. Nor does he require large retailers to actively monitor their patrons'

activities and distance from each other. Instead, Governor Lamont has prescribed

recommendations to these retailers that enable them to operate and people to assemble

within their establishments. Governor Lamont has not prescribed, nor has he made any

effort to prescribe, reasonable regulations to allow the Plaintiffs to operate and to

assemble with likeminded individuals in their establishments or in their homes. In other

words, Governor Lamont arbitrarily place his trust in some individuals to responsibly

exercise their liberties, but not in others.

       There is no meaningful distinction between a person sneezing, coughing, or

executing a natural bodily function in a grocery store or any other establishment that

Governor Lamont has allowed to remain open on an unrestricted basis and a restaurant

or any other establishment that Governor Lamont has ordered to remain closed or only

open under proscribed, arbitrary conditions. Unless the laws of nature have ceased to

exist in Governor Lamont's favored locations, coronavirus is more likely to spread through

gatherings at a grocery store or any other establishment that Governor Lamont allowed

to remain open on an unrestricted basis because they host far larger and more frequent

gatherings of individuals. Furthermore, with Governor Lamont providing carte blanche

exception to their face mask policies, Governor Lamont's only remaining effective policies



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for safety at gatherings are social distancing. Governor Lamont's extreme, arbitrary

regulation of establishments such as the Plaintiffs' is entirely based on his personal

assessments on what businesses are necessary to a society, not whether the Plaintiffs'

establishment can be operated safely. Consequently, it is entirely arbitrary and

unreasonable.

         Finally, the Plaintiffs are more than capable and willing to develop their own

policies to maintain social distancing at their restaurant and even to work with Governor

Lamont to do so. Governor Lamont prefers to hire out of state consultants for millions of

dollars and has displayed a complete lack of interest or willingness to work with the

Plaintiffs and similarly situated business owners that he disfavors. Nonetheless, Governor

Lamont is more than willing to work with large establishments that he favors to ensure

that those establishments can host gatherings of people accordance to social distancing

guidelines. Governor Lamont's outright failure to do so with the Plaintiffs is an arbitrary

and unreasonable choice that furthers an arbitrary and unreasonable policy that prevents

the Plaintiffs from operating.

         Consequently, the Court should deny Governor Lamont's motion to dismiss Count

Eight.

         B. The Plaintiffs' Freedom of Association Claims Survive A Motion to
            Dismiss.

         The Supreme Court established a right to freedom of association in Roberts v. U.S.

Jaycees, 468 U.S. 609 (1984) that covers associations formed for the purposes of

"engaging in those activities protected by First Amendment - speech, assembly, petition

for the redress of grievances, and the exercise of religion." Roberts, 468 U.S. at 618. The

Roberts Court characterized this right as "an indispensable means of preserving other


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individual liberties." Id. Under the right to freedom of expressive association, the Supreme

Court has long recognized that it covers broad categories: "we have long understood as

implicit in the right to engage in activities protected by the First Amendment a

corresponding right to associate with others in pursuit of a wide variety of political, social,

economic, educational, religious, and cultural ends." Id. at 622 (compiling cases).

       The Supreme Court characterized government actions that seek to impose

penalties on individuals because of their association with a disfavored group as

unconstitutional. Id. There is no question that such a situation exists here. The Plaintiffs

risk criminal repercussions including fines and incarceration if they attempt to associate

with more than the Governor's chosen number of people at any given time. If they attempt

to do so at their place of business, Governor Lamont will not think twice about revoking

their business license.

       Governor Lamont relies primarily on a district court's compilation of cases for his

argument that non-familial relationships are not generally entitled to First Amendment

protection despite its clear contradiction of the Supreme Court's established precedent in

Roberts: Maselli v. Tuckahoe Union Free School Dist., 2019 WL 3456581 (S.D.N.Y. July

31, 2019). As an initial matter, Maselli is entirely inapplicable to the instant case because

it involved a claim of intimate association, not expressive association of the kind described

in Roberts. Maselli, 2019 WL 32456581, at *4. Most of the cases that Maselli compiles do

not address the right to expressive association, only to intimate association.

Consequently, Maselli cannot support its own sweeping language, and the one case that

may supports its position is Sanitation and Recycling Indus. v. City of New York, 107 F.3d

985 (2d. Cir. 1997).



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       While Sanitation and Recycling cites Roberts for the proposition that the First

Amendment does not protect business relationships, it misreads Roberts. The portion of

Roberts that Sanitation and Recycling relies on is its rejection of a large business

enterprise with remote connections as being an example of an intimate association.

Roberts, 468 U.S. at 620. Sanitation and Recycling does not consider Roberts's holding

in its discussion of expressive association: "we have long understood as implicit in the

right to engage in activities protected by the First Amendment a corresponding right to

associate with others in pursuit of a wide variety of political, social, economic, educational,

religious, and cultural ends." Id. at 622. Consequently, the First Amendment does extend

the protection of its expressive association guarantees to economic and social ends.

       Just as in colonial taverns did, restaurants and bars such as the Plaintiffs' serve

an invaluable purpose toward facilitating discussion and allowing their owners to engage

in such discussions. By limiting the number of people who can assemble and prohibiting

the Plaintiffs from operating their business as they see fit, Governor Lamont has

categorically stripped the public of a vital public forum that predates the United States

Constitution and are blatantly suppressing speech by restricting public meetings and

associations.

       Finally, as discussed previously, Governor Lamont's reliance on Jacobson is

misplaced because Jacobson has not been reconciled with modern constitutional

jurisprudence.

       Consequently, the Court should deny Governor Lamont's motion to dismiss Count

Eleven.




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        c.   The Plaintiffs' Right To Pursue an Honest Living Claims Survive A Motion
             to Dismiss.

        The Plaintiffs contend that the U.S. Supreme Court has recognized the

fundamental unenumerated right to pursue an honest living in Dent v. West Virginia: "[i]t

is undoubtedly the right of every citizen of the United States to follow any lawful calling,

business, or profession he may choose, subject only to such restrictions as are imposed

upon all persons of like age, sex, and condition." 129 U.S. 114, 121-22 (1889). As such,

the Plaintiffs are entitled to strict scrutiny on any regulation that infringes upon this right.

        Governor lamont contends that the Supreme Court recognized no such right. See

Lamont - Mot. To Dismiss, p. 23-28. However, even assuming the truth of Governor

Lamont's contention, the Court still has an obligation to conduct an analysis under

Glucksberg or Obergefel/ to determine whether the Due Process Clause of the Fourteenth

Amendment protects the right to earn an honest living.10

       Under Obergefel/, a fundamental unenumerated right may be recognized and

afforded strict scrutiny when the courts exercise reasoned judgement to identify "interests

of the person so fundamental that the State must accord them its respect." Obergefel/ v.

Hodges, 135 S.Ct. 2584, 2598 (2015). While "[h]istory and tradition guide and discipline

this inquiry ... ," it "does not its outer boundaries." Id.

       To receive strict scrutiny under Glucksberg, a fundamental unenumerated right

must be "objectively, 'deeply rooted in this Nation's history and tradition'" and "'implicit in




10 The Supreme Court's methodology for recognizing fundamental unenumerated rights
is disputed. See Stephen G. Gilles, Why the Right to Elective Abortion Fails Casey's Own
Interest-Balancing Methodology - And Why It Matters, 91 Notre Dame l. Rev. 691,693
n.11 (2015) (discussing the differences between the Obergefel/ and Glucksberg
methodologies and questioning whether Obergefel/ overruled Glucksberg).
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the concept of ordered liberty,' such that neither liberty nor justice would exist if they were

sacrificed.'" Washington v. G/ucksberg, 521 U.S. 702, 720-21 (1997).

       The Plaintiffs satisfy both methodologies. The right to pursue an honest living

predates the Magna Carta as the Magna Carta itself recognizes: "[a]1I merchants are to

be safe and secure in leaving and entering England, and in staying and traveling [sic] in

England ... to buy and sell free from all maletotes by the ancient and rightful customs .... "

J.C. Holt, Magna Carta 461-63 (2d ed. 1992).11 So deeply did this right become

established in English common law that the King's Bench in 1602 declared

       [nhis condition is against law, to prohibit or restrain any to use a lawful trade
       at any time ... for as well as he may restrain him for one time ... he may
       restrain him for longer times ... being freemen, it is free for them to exercise
       their trade in any place ... [A party] ought not to be abridged of his trade and
       living.

Co/gate v. Bache/er, 78 Eng. Rep. 1097 (K.B. 1602).

       Lord Coke stated the reasoning for these absolute statements of the English

common law right to pursue an honest living in his seminal work on monopolies 12 : "a

man's trade is accounted his life, because it maintaineth his life .... " Edward Coke, The

Third Part of the Institutes of the Laws of England, at *181 (William S. Hein Co. 1986)

(1797).




11 The English tradition of individual rights further developed after the Magna Carta
through the common law as King Edward I acknowledged in the Confirmatio Cartarum.
Confirmatio Cartarum (Nov. 5, 1297).
12 The monopolies that Lord Coke and William Blackstone confronted were conceptually
different from our modern conception of monopolies. Blackstone defined a monopoly as
"a license or privilege allowed by the king for the sole buying and selling, making, working,
or using of any thing whatsoever; whereby the subject in general is restrain from that
liberty of manufacturing or trading which he had before." 4 William Blackstone,
Commentaries, at *159.
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          The Founding Fathers carried their ancestors' antipathy to the Constitutional

Convention - a sentiment best summed up by George Mason's declaration that "[h]e was

afraid of monopolies of every sort .... " James Madison, Notes of Debates in the Federal

Convention 638 (Adrienne Koch ed., 1966). In that spirit, the Founding Fathers took care

not to give the federal government the power to prevent citizens from pursuing an honest

living.

          In the seminal case of Corfield v. Coryell, Justice Bushrod Washington described

certain "privileges and immunities which are, in their nature, fundamental, which belong,

of right, to the citizens of all free governments .... " 6 F. Cas. 546 (C.C.E.D. PA. 1823).

These rights included "the enjoyment of life and liberty ... the right to acquire and possess

property ... and to pursue and obtain happiness and safety; subject nevertheless to such

restraints as the government may justly prescribe for the general good of the whole .... "

Id.

          Picking up on Coryell, numerous state courts recognized and referenced the right

to earn an honest living. See, e.g., Sewall v. Jones, 26 Mass. (9 Pick.) 412 (Mass. 1830);

City of Memphis v. Winfield, 27 Tenn. (8 Hum.) 707 (Tenn. 1848). This recognition of the

historical right to earn an honest living obtained full recognition from the United States

Supreme Court in Dent v. West Viriginia: "[i]t is undoubtedly the right of every citizen of

the United States to follow any lawful calling, business, or profession he may choose,

subject only to such restrictions as are imposed upon all persons of like age, sex, and

condition." 129 U.S. 114, 121-22 (1889).

          There is no question as to the fundamental importance of the right to pursue an

honest living in our society. Human survival depends on it as an initial matter. Second,



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the right to pursue an honest living is, at its core, an enabling right in society. The ability

to earn a living enables individuals to exercise their other constitutional rights (Le., obtain

arms, reach a larger portion of the public through free speech). Without the right to earn

an honest living, a person is effectively denied the right to exercise his other rights

because he has no economic means to do so.

       Consequently, the right to earn an honest living is deeply rooted in this nation's

history and tradition and is so fundamental in this nation's scheme of ordered liberty that

it must be accorded substantial respect by the state. That substantial respect is strict

scrutiny.

       While Dent recognized that states reserve a police power in the face of this right,

it defined the police power of the state over the right to earn a living as authorizing it "to

prescribe all such regulations as in its judgment will secure or tend to secure them against

the consequences of ignorance and incapacity, as well as of deception and fraud." Id. at

122. Nowhere in English or American case law does the state's police power enable it to

totally suspend the constitutional right to pursue a living in the name of a public health

emergency. Dent instead makes it crystal clear that the state's police power is only

properly exercised when it protects the public from ignorance, incapacity, deception, and

fraud in the carrying out of an occupation.

       In conclusion, the Plaintiffs again recognize that the Supreme Court has rejected

the Privileges Or Immunities Clause of the Fourteenth Amendment as a textual basis for

unenumerated rights. See The Slaughter-House Cases, 83 U.S. 36 (1872). However, the

Plaintiffs maintain that there is a textual and historical basis for the Privileges or

Immunities Clause of the Fourteenth Amendment as the basis for unenumerated rights.



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See McDonald v. City of Chicago, III., 561 U.S. 742 (Thomas, J., concurring) (discussing

at length the history and text of the Fourteenth Amendment's Privileges Or Immunities

Clause). They thus preserve the argument for appeal although they recognize that the

Court is bound to follow the well-established precedent.

       The well-established precedent points toward the recognition of a fundamental,

unenumerated right to pursue an honest living. Therefore, the Court should deny

Governor Lamont's motion to dismiss Count Ten of the Plaintiffs' complaint.

       D. The Plaintiffs' Takings Claims Survive A Motion to Dismiss.

       In his haste to have the Court speedily eject the Plaintiffs from the courthouse,

Governor Lamont has made erroneous assumptions both about the Plaintiffs' complaint

and the state of the Takings Clause doctrine. He has only challenged the Plaintiffs'

argument that his orders create a per se taking in violation of the Fifth Amendment as

described by Lucas v. South Carolina Coastal Council, 505 U.S. 1003 (1992). In doing

so, he has neglected the alternative circumstantial approach to establishing a regulatory

taking employed by Penn Central Transp. Co. v. New York City, 438 U.S. 104 (1978).

       The most important modern Takings Clause case is Penn Central. Under the Penn

Central test, a regulatory taking may be found without a regulation depriving an owner of

all economically beneficial use.   MUff   v. Wisconsin, 137 S.Ct. 1933, 1943 (2017) (internal

citations omitted). The Penn Central test involves a complex set of factors including "(1)

the economic impact of the regulation on the claimant; (2) the extent to which the

regulation has interfered with distinct investment backed expectations; and (3) the

character of the government action." Id. (internal citations omitted).




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       It is no stretch on the reasonable inference powers of this Court to determine that

Governor Lamont's orders have placed a tremendously detrimental economic impact on

the Plaintiffs. Nor is it any stretch for the Court to infer from the Plaintiffs' complaint that

they have invested substantial resources into the property at issue. Compl.          ml   10-12.

Furthermore, Governor's Lamont's position has consistently been that his executive

orders were issued in the public interest and that they are not ordinary orders, but

emergency orders. As such, they have essentially commandeered the Plaintiffs' property

to render it inoperable in the public interest. There is no question that, considered in its

totality, the Plaintiffs have made out a prima facie case of a regulatory taking under the

Penn Central test.

       The Lucas case establishes a categorical rule for regulatory takings that requires

the denial of "all economically beneficial or productive use" of the property at stake. Id. at

1942-43 (internal citations omitted). In Lucas, the Supreme Court further clarified this rule

to mean all "economically viable use" of property. Lucas, 505 U.S. at 1016. It is not

economically viable for the Plaintiffs to operate their business in the manner that Governor

Lamont suggests because they would operate at a substantial loss. Consequently, they

have been deprived of all economically viable use of their property.

       Governor Lamont's reliance on United States v. Caltex is misplaced as well. First,

Caltex did not concern a regulatory taking, but rather the physical destruction of property.

Caltex, 344 U.S. 149, 152 (1952). Second, the property owners conceded that the United

States Army had never seized the property, but merely destroyed it when it retreated from

the Philippines. Id. As such, Caltex is readily distinguishable because the property owners




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conceded that there was no taking. Furthermore, Caltex and its predecessors have only

been applied in war time under fortunes of war reasoning. Id. at 153-55.

       Finally, Caltex itself cannot survive the text of the Fifth Amendment as Justices

Douglas and Black pOinted out in their dissent. When the public interest demands that a

property be destroyed for a reason other than being a public nuisance, it is appropriated

for the common good. Id. at 156 (Douglas, J., dissenting). As such, "the public purse

rather than the individual [should] bear the loss." Id. Governor Lamont has consistently

stated that he is acting in the public's interest. Consequently, his executive orders have

functionally appropriated property for the common good by rendering them inoperable,

and the burden of that appropriation should fall on the public purse, not the Plaintiffs'.

       Consequently, the Court should deny the Defendants' motion to dismiss Count

Eleven of their complaint.



X.     GOVERNOR LAMONT ENJOYS NO IMMUNITY FROM THE PLAINTIFF'S
       CLAIMS.

       In a last-ditch effort to escape liability, Governor Lamont asserts two types of

immunity: legislative immunity and qualified immunity. Legislative immunity is not

applicable in the present case. Qualified immunity has no textual basis in the Constitution,

and, if it does, Governor Lamont's actions are so blatantly unconstitutional that any

reasonable person would have known that they were.

      A. Governor Lamont Does Not Enjoy Absolute Legislative Immunity.

      Governor Lamont asks this Court to go where no governor has ever gone before

and declare that his actions under the color of Conn. Gen. Stat. § 28-9 constitute the

enactment of legislation. Lamont - Mot. To Dismiss, p. 34. Notably, Governor Lamont

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cannot cite a single Connecticut court case that holds that he has the power to legislate,

but he asks this Court - a federal one - to give him that power while vigorously protesting

in the same memorandum that the Court should not decide state constitutional questions.

Furthermore, Governor Lamont cannot cite a single federal case that has declared an

executive order to be a legislative act.

       Governor Lamont's executive orders are not legislative in form because they are

not integral steps in the legislative process. State Emps. Bargaining Agent Coal. v.

Rowland, 494 F.3d 71,89 (2d Cir. 2007) (denying legislative immunity to the governor at

the motion to dismiss stage because his termination of three thousand employees was

not clearly part of his budget plan in that litigation stage). Governor Lamont also relies on

NRP Holdings LLC v. City of Buffalo, 916 F.3d 177, 190 (2d Cir. 2019) to support his

position. Unlike the present case, NRP Holdings concerned a mayor's corrupt failure to

forward necessary resolutions to the city council for approval, thus initiating the legislative

process. NRP Holdings, 916 F.3d at 188. Governor Lamont in the present case requires

no prior approval from the legislature to declare a public emergency or to suspend certain

statutes although the legislature may disprove his decisions if it so chooses. Conn. Gen.

Stat. § 28-9(a); Conn. Gen. Stat. § 19a-131a(b)(1). He is not initiating legislative action in

other words.

       Consequently, Governor Lamont is acting purely in an executory capacity under

Article the Fourth, § 12 of the Connecticut Constitution. As part of his executive authority,

the state legislature has authorized him to suspend the execution of certain laws

according to the procedures that it has set out. It certainly did not authorize him to legislate




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new laws like he claims. As such, Governor Lamont is not entitled to absolute legislative

immunity.

       Even assuming arguendo that Governor Lamont's actions are integral steps in the

legislative process, his claim for legislative immunity still fails because his executive

orders do not bear the hallmarks of traditional legislation. Rowland, 494 F.3d at 89. All of

the cases that Governor Lamont relies on involve the natural conclusion of a legislative

process, not a purely executive function. In Baraka v. McGreevey, 481 F.3d 187 (3d Cir.

2007), the Second Circuit held that a governor was not liable for advocating for a bill and

then signing it with the express intent of abolishing a position held by a government poet

who had written some poetry that the governor considered to be racist. Unlike the instant

case, the Baraka governor engaged in the legislative process. Governor Lamont has only

engaged in the executive process.

       The other case that Governor Lamont relies on contains almost identical facts. In

Bogan v. Scott-Harris, the Supreme Court afforded legislative immunity to a mayor who

submitted his budget proposal and proposed eliminating a number of city positions

including that of an employee who had been politically targeted for racist remarks. 523

U.S. 44 (1998). Again, the Bogan mayor engaged in the legislative process by submitting

a budget to the city council. Governor Lamont has acted purely in an executive capacity

by refraining from executing certain laws as he is authorized to do by legislation and

exceeding his statutory authority by suspending the Constitution. Consequently,

Governor Lamont does not enjoy legislative immunity because he is acting in purely an

executive capacity instead of a legislative capacity.




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      Finally, Governor Lamont cites a litany of cases for the proposition that he enjoys

absolute legislative immunity for certain acts. Then he proceeds to confess that he

exceeded the grant of authority given to him by the legislature under Conn. Gen. Stat. §

28-9(b)( 1). The legislature did not authorize Governor Lamont to suspend the entire state

of Connecticut's constitutional liberties nor could it because of the Supremacy Clause.

Instead, the legislature only authorized Governor Lamont to modify or suspend

Connecticut statutes, regulations, or requirements in part or in whole to protect public

health. Consequently, by suspending constitutional rights for the entire state of

Connecticut, Governor Lamont has exceeded the scope of the permissible authority

granted to him by Conn. Gen. Stat. § 28-9(b)(1), thus stepping outside the valid quasi-

legislative process and forfeiting his absolute immunity.

       B. Governor Lamont Does Not Enjoy Qualified Immunity.

      Qualified immunity is a modern innovation and has no true ancestor in the common

law nor any textual basis in the federal constitution or 42 U.S.C. § 1983. At best, it is the

substitution of judicial policy preferences for congressional mandates. Consequently, the

Plaintiffs dispute its application in this case, but they recognize that the Court will adhere

to the tremendous body of qualified immunity precedent and reserve the issue for appeal.

       The ostensible purpose of qualified immunity is to provide officials with notice of

the legal constraints and consequences on their conduct. Moore v. Andreno, 505 F.3d

203, 214 (2d Cir. 2007). Plaintiffs who encounter a qualified immunity defense at the

motion to dismiss stage are entitled to "all reasonable inferences from the facts alleged,

not only those that support [their] claims, but also those that defeat the immunity defense."

McKenna v. Wright, 386 F.3d 432, 434 (2d Cir. 2004). The appropriate inquiry is then to



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ask whether the plaintiff has pled "facts showing (1 ) that the official violated a statutory or

constitutional right, and (2) that the right was 'clearly established' at the time of the

challenged conduct." Ganek v. Leibowitz, 874 F.3d 72, 80 (2d Cir. 2017) (internal

quotation marks omitted).

       In the instant case, the Plaintiffs have alleged that Governor Lamont did not merely

violate their constitutional rights in some unclear fashion. The Plaintiffs have alleged that

he has completely suspended their constitutional rights indefinitely. The constitutional

rights that they have alleged that Governor Lamont has violated have been established

for well over seventy years. There is no quarantine case law or other public health case

law that gives Governor Lamont the authorization to completely suspend constitutional

rights in the name of a public health emergency. Rather, the relevant case law as

discussed above requires him to institute narrowly tailored measures to protect the public.

Governor Lamont deliberately ignored the federal constitution and chose to implement

sweeping orders with no regard for clearly established constitutional principles.

Consequently, he is not entitled to qualified immunity at this stage.

       XI.    If The Court Rejects The Federal Claims, It Should Decline To
              Exercise Its Supplemental Jurisdiction Over The State Claims; In The
              Alternative, The Court Should Retain The State Claims Insofar As
              They Seek Equitable Relief

       In the event the Court dismisses the federal claims, the plaintiffs request that this

Court decline supplemental jurisdiction of the State Constitutional claims on grounds of

judicial economy and comity. The Constitutional questions the plaintiff seeks to raise on

the State level may include issues of first impression that would be better litigated in the

State forum. It is foreseeable that matters from this Court might be certified to the State

Supreme Court for decision. The plaintiffs, having sought emergency relief in the

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exigent circumstances of the ongoing pandemic, would be better served, as would the

public at large, by resolution of the State constitutional claims in the State courts.

       In the alternative, the cases the defendant recites as to a private right action

pertain only to claims for money damages. The plaintiff reserves the right to seek

equitable relief, including declaratory and injunctive relief. For that reason alone, the

defendant's motion to dismiss should be denied.

                                      CONCLUSION

       For the foregoing reasons, the Plaintiffs respectfully request the Court to deny

Governor Lamont's motion to dismiss in its entirety.

                                                  THE PLAINTIFFS

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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 29, 2020, I filed a copy of the foregoing electronically

and served a copy of the foregoing by mail on anyone unable to accept electronic filing.

The Court's electronic filing system will send notice of this filing bye-mail to all parties.

Parties may access this filing through the Court's CM/ECF System.

                                                          lsI Kevin M. Smith lsI

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